                  Case 1:17-cr-00428-LMM-RGV Document 25 Filed 12/07/17 Page 1 of 3
 AO 199A       (Rev, 6/97) Order Setling Conditions of Release                                                             Page I of   3   Pages




                                       UNITED STATES DISTRICT COURT

                      NORTHERN                                        District of                         GEORGIA


                 United States of America
                                                                                      ORDER SETTING CONDITIONS
                              V.                                                             OF RELEASE
                GIOVANNI CARTIER
_____________________________________________                                Case Number:      1:1 7-CR-428-LMM
                  Defendant

IT IS ORDERED that the release of the defendant is subject to the following conditions:

           (I) The defendant shall not commit any offense in violation of federal, state or local law while on release in this case.

           (2) The defendant shall immediately advise the court, defense counsel and the U.S. attorney in writing before any change in
               address and telephone number.

           (3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as

               directed. The defendant shall appear at (if blank, to be notified)                         TO BE NOTIFIED
                                                                                                                   Place

               ___________________________________                on ________________________________________________________________
                                                                                                   Date and Time




                                         Release on Personal Recognizance or Unsecured Bond

IT IS FURTHER ORDERED that the defendant be released provided that:

   V   )   (4) The defendant promises to appear at all proceedings as required and to surrender for service of any sentence imposed.

   X )     (5) The defendant execu es an unsecured bond binding the defendant to pay the United States the sum of
                             -                                   ______________________________        dollars($ ~ ow~°°                   _)
               in the ev, of a failure to appear as required or to surrender as directed for service of any sentence imposed.




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                      Case
    AO I 99B (Rev. 03/09)     1:17-cr-00428-LMM-RGV
                          Additional Conditions of Release                           Document 25 Filed 12/07/17 Page
                                                                                                                 Page 2 of of
                                                                                                                           3                       _______       ___        Pages

                                                              ADDITIONAL CONDITIONS OF RELEASE
         Upon finding that release by one of the above methods will not by itself reasonably assure the defendant’s appearance and the safety of other persons or the community.
IT IS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:
         (7) The defendant is placed in the custody of:
              Person or organization
              Address (only ~fabove ison organization) ______________________________________________________________________________________________
              City and state ________________________________________________________________— Tel. No. (only if above ‘san organization) — ________
who agrees (a) to supervise the defendant in accordance with all of the conditions of release, (b) to use every effort to assure the defendant’s appearance at all scheduled court
proceedings, and (c) to noti~’ the court immediately if the defendant violates any condition of release or disappears.

                                                                                      Signed:   __________________________________________               __________________________

DEFENDANT: GIOVANNI CARTtER                                                                          Custodion or Proxy                                 Dat~
  X ) () The defendant must:
      (X ) (a) report to the U.S. PRETRIAL SERVICES                         ______

                telephone number 404-2 I 5-1950                ,no later than 5:00 PM TODAY
        X ) (b) execute a bond or an agreement to forfeit upon failing to appear as required the following slim of money or designated property:
                25,000.00 PROPERTY BOND
            (c) post with the court the following proof of ownership of the designated property, or the following amount or percentage of the above-described sum

              (d)       execute a bail bond with solvent sureties in the amount of S
          X ) (e)       maintain or actively seek employment.
              (f~       maintain or commence all education program.
         (X ) (g)       surrender any passport 10: U. S. PRETRIAL SERVICES                                                                                        —

          X ) (h)       obtain no passport.
          X ) (i)       abide by the following restrictions on personal association, place of abode, or travel:   RESIDE AT THE ADDRESS PROVIDED TO U.S. PRETRIAL
                        SERVICES AND DO NOT CHANGE ADDRESS W/O PRE-APPROVAL FROM THIS COURT.
            X ) 0)      avoid all contact, directly or indirectly, with any person who is or may become a victim or potential witness in the investigation or
                        prosecution, including but not limited to:

                  (k)   undergo medical or psyclliatric treatnient:

        (       ) (I)   return to custody each (week) day at                          o’clock after being released eacll (week) day at                        o’clock for employment,     —

                        schooling, or the following purpose(s):                                 -       —




                  (m)   maintain residence at a halfway house or comniunity corrections center, as the pretrial services office or supervising officer considers necessary.
            X ) (n)     refrain from posses≤ing a firearm, destructive device, or other dangerous weapons TO INCLUDE AlVIl’vIUNITION.
            X ) (o)     refrain from (      ) any ( X ) excessive use of alcohol.
            X ) (p)     refrain from use or unlawful possession ofa narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical
                        practitioner.
            X   ) (q)   submit to any testing required by the pretrial services office or the supervisingofficer to determine whether the defendant is using a prohibited substance. Any
                        testing may be used with random frequency and include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
                        prohibited substance screening or testing. The defendant must refrain from obstructing or attempting to obstructor tamper, in ally fashion, with the efficiency
                        and accuracy of any prohibited substance testing or monitoring which is (are) required as a condition of release.
                  (r)   participate in a program of inpatient or outpatient substance abuse therapy and counseling if tile pretrial services office or supervising officer considers it
                        advisable.
                  (s)   participate in one of tile following location monitoring program components and abide by its requirements as the pretrial services officer or supervising
                        officer instructs.
                                  (i) Curfew. You are restricted to your residence every day ( ) from _____________ to _____________ ,or ( ) as directed by tile pretrial
                                      services office or supervising officer; or
                                 (ii) I-Ionic Detention. You are restricted toyourresidenceatail timesexcept foremployment; education; religiousservices; medical, substance abuse,
                                      or nlental health treatnlent; attorney visits; court appearances; court-ordered obhgations; or other activities pre-approved by the pretrial services
                                      office or sttpervising officer; or
                                (Hi) Home incarceration. You are restricted to 24-llour-a-day lock-down except for medical necessities and court appearances Or otiler activities
                                      specifically approved by the court.
                  (t)   submit to the location monitoring indica!ed below and abide by all of tile prograni requirenlents and instructions provided by the pretrial services officer
                        or supervising officer related to tile proper operation of the technology.
                                The defendant must pay all or part of tile cost of tile program based upon your ability to pay as the pretrial services office or supervising officer
                        ‘    ~ determines.

                                (i)    Location monitoring technology as directed by the pretrial services office or supervising officer;
                               (H)     Radio Frequency (RF) illonitoring;
                              (Hi)     Passive Global Positioning Satellite (GPS) monitoring;
                              (iv)    Active Global Positioning Satellite (OPS) monitoring (including hybrid” (Active/Passive) OPS);
                               (v)     Voice Recognition monitorilg.
            X ) (u)     Defendant     ORDERED to remain tv/in tilejurisdiction of tile NDGA uniess pre-approval from U.S. Pretrial Services is received.
                        Defendant     MAY NOT open new lines of credit                                              -




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                  Case 1:17-cr-00428-LMM-RGV Document 25 Filed 12/07/17 Page 3 of 3
  AO 199C      Rev.12/03) Advice of Penalties                                                               Pag~~L~fl      IN’ (~HAMBE1RS
                                                  Advice of Penalties and Sanctions                                    IJ.b.U.U. ~uanta
                                                                                                                                      -



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TO THE DEFENDANT:                                                                                                      DEC 7 2ii7 -




YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:                                                         a_James N. Hall-a C1r
                                                                                                                  “l•         De~Jk&CIerk
        A violation of any of the foregoing conditions of release may result in the immediate issuance ofattarrant for your ar~).
revocation of release, an order of detention, and a prosecution for contempt of court and could result in a term of imprisonment, a fine,
or both.
       The commission ofa Federal offense while on pretrial release will result in an additional sentence ofa term of imprisonment of
of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a misdemeanor.
This sentence shall be in addition to any other sentence.
        Federal law makes it a crime punishable by up to 10 years of imprisonment, and a $250,000 fine or both to obstruct a criminal
investigation. It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to tamper with a witness, victim
or informant; to retaliate or attempt to retaliate against a witness, victim or informant; or to intimidate or attempt to intimidate a witness,
victim,juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly more serious if
they involve a killing or attempted killing.
        If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       (I) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined
              not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined not
              more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
       A tent of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                     Acknowledgment of Defendant

       I acknowledge that lam the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware ofthe penalties and sanctions set forth
above.


                                                                                                 Signature of Defendant


                                                                                                         Address


                                                                                  CITY/STATE/ZIP CODE                 TELEPHONE


                                                Directions to United States Marshal

         The defendant is ORDERED released after processing.
         The United States marshal is ORDERED to keep the defendant in cust         y until       d by the clerk orjudge that the defendant
         has posted bond and/or complied with all other conditions for release.      ie d e     nt shall be produced be ore thea’~ ‘priate


Date:
        judge ~t t e time and places ecified, if still in custody.

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                                                                                j.~c
                                                                                              Signature of Ju~Jicial Officer

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                                                                                                                  udicial Officer         /
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